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                                 UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLORADO

  Civil Action No. 1:21-cv-01056-WJM-NRN

  MARTHA LUGO,
         Plaintiff
         v.

  TRUTH CORPORATION d/b/a ACCOUNTABILITY POLYGRAPH SERVICES; and
  GALE J. PAGE,

         Defendants.


       STIPULATION OF DISMISSAL PURSUANT TO FED. R. CIV. P. 41(a)(1)(A)(ii)


         The Parties, by and through undersigned counsel, hereby stipulate to the dismissal of any and

  all claims that were asserted, or could have been asserted, in this matter with prejudice pursuant to

  Fed. R. Civ. P. 41(a)(1)(A)(ii). The Parties further stipulate and agree that all parties shall be

  responsible for their own attorneys’ fees and costs.

         Dated this 30th day of August 2021.

  /s/ Julian G.G. Wolfson                                /s/ Leah P. VanLandschoot
  Julian G. G. Wolfson                                   Leah P. VanLandschoot
  Claire E. Hunter                                       Amy Maestas
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                               CERTIFICATE OF SERVICE

          I certify that on this 30th day of August 2021, the foregoing STIPULATION OF
  DISMISSAL PURSUANT TO FED. R. CIV. P. 41(a)(1)(A)(ii) was served upon the following
  via the Court’s CM/ECF system:

  Leah P. VanLandschoot
  Amy Maestas
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                                        /s/ Jen Kern___________
                                        Jen Kern, Paralegal




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